                      Case 23-90085 Document 1 Filed in TXSB on 02/13/23 Page 1 of 16
Debtor       Sorrento Therapeutics, Inc.                                                  Case number (if known)
           Name




Fill in this information to identify the case:

United States Bankruptcy Court for the:
                           Southern District of Texas
                                           (State)                                                                                    ☐Check if this is an
Case number (if known):                                          Chapter      11                                                         amended filing



Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                              06/22

      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name
      and the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
      Individuals, is available.



1.   Debtor’s Name                     Sorrento Therapeutics, Inc.



2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)         XX-XXXXXXX                                           _________________________________________________


4. Debtor’s address                    Principal place of business                                      Mailing address, if different from principal place
                                                                                                        of business
                                       4955 Directors Place

                                           Number             Street                                    Number         Street




                                           San Diego                        CA          92121
                                           City                              State     Zip Code         City                         State     Zip Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                           San Diego
                                           County                                                       Number         Street




                                                                                                        City                         State     Zip Code




5. Debtor’s website (URL)                  https://sorrentotherapeutics.com/

6.   Type of debtor                         ☒Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            ☐Partnership (excluding LLP)

                                            ☐Other. Specify:




     Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 1
                        Case 23-90085 Document 1 Filed in TXSB on 02/13/23 Page 2 of 16
Debtor        Sorrento Therapeutics, Inc.                                            Case number (if known)
            Name



                                              A. Check One:
7.   Describe debtor’s business
                                               ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                               ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                               ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                               ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                               ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                               ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                               ☒ None of the above

                                              B. Check all that apply:
                                               ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                               ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                 § 80a-3)
                                               ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                              C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                 http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                 3254 (Pharmaceutical and Medicine Manufacturing)

8. Under which chapter of the                 Check One:
   Bankruptcy Code is the                     ☐ Chapter 7
   debtor filing?
                                              ☐ Chapter 9

                                              ☒ Chapter 11. Check all that apply:
A debtor who is a “small business
debtor” must check the first sub-                       ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
box. A debtor as defined in §                             noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
1182(1) who elects to proceed                             $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
under subchapter V of chapter 11                          operations, cash-flow statement, and federal income tax return or if any of these documents do
(whether or not the debtor is a “small                    not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
business debtor”) must check the
second sub-box.                                           ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                            debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses
                                                            to proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most
                                                            recent balance sheet, statement of operations, cash-flow statement, and federal income tax
                                                            return, or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                         ☐ A plan is being filed with this petition.

                                                         ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                           creditors, in accordance with 11 U.S.C. § 1126(b).
                                                         ☒ The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities
                                                           and Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934.
                                                           File the Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under
                                                           Chapter 11 (Official Form 201A) with this form.
                                                         ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                               ☐ Chapter 12

9. Were prior bankruptcy cases              ☒ No
   filed by or against the debtor           ☐ Yes    District                         When                        Case number
   within the last 8 years?                                                                     MM/DD/YYYY
     If more than 2 cases, attach a                  District                         When                        Case number
     separate list.                                                                             MM/DD/YYYY

10. Are any bankruptcy cases                ☐ No
    pending or being filed by a             ☒ Yes                                                                 Relationship     Affiliate
                                                     Debtor      Scintilla Pharmaceuticals, Inc.
    business partner or an
    affiliate of the debtor?                         District    Southern District of Texas
     List all cases. If more than 1,                                                                              When:            02 / 13 / 2023
     attach a separate list.                                                                                                       MM / DD / YYYY
                                                     Case number, if known _______________

     Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
                        Case 23-90085 Document 1 Filed in TXSB on 02/13/23 Page 3 of 16
    Debtor     Sorrento Therapeutics, Inc.                                              Case number (if known)
              Name



    11. Why is the case filed in this      Check all that apply:
        district?
                                                ☐ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                district.
                                                ☒ A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


    12. Does the debtor own or have          ☒ No
        possession of any real               ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
        property or personal
        property that needs                          Why does the property need immediate attention? (Check all that apply.)
        immediate attention?
                                                     ☐    It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                          safety.
                                                          What is the hazard?
                                                     ☐    It needs to be physically secured or protected from the weather.

                                                     ☐    It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).
                                                     ☐    Other


                                                     Where is the property?
                                                                                         Number          Street



                                                                                         City                                  State       Zip Code



                                                     Is the property insured?
                                                      ☐ No

                                                      ☐ Yes. Insurance agency

                                                                Contact name
                                                                Phone




                           Statistical and administrative information

    13. Debtor's estimation of           Check one:
        available funds
                                           ☒ Funds will be available for distribution to unsecured creditors.
                                           ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

    14. Estimated number of                     ☐1-49                            ☐1,000-5,000                            ☐25,001-50,000
        creditors1                              ☐50-99                           ☐5,001-10,000                           ☐50,001-100,000
                                                ☐100-199                         ☐10,001-25,000                          ☐More than 100,000
                                                ☒200-999



    15. Estimated assets                        ☐$0-$50,000                      ☐$1,000,001-$10 million                 ☐$500,000,001-$1 billion
                                                ☐$50,001-$100,000                ☐$10,000,001-$50 million                ☒$1,000,000,001-$10 billion
                                                ☐$100,001-$500,000               ☐$50,000,001-$100 million               ☐$10,000,000,001-$50 billion
                                                ☐$500,001-$1 million             ☐$100,000,001-$500 million              ☐More than $50 billion




1
    The Debtors’ estimated number of creditors, assets, and liabilities noted here are provided on a consolidated basis.

       Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page 3
                    Case 23-90085 Document 1 Filed in TXSB on 02/13/23 Page 4 of 16
Debtor     Sorrento Therapeutics, Inc.                                                   Case number (if known)
          Name




16. Estimated liabilities                       ☐$0-$50,000                      ☐$1,000,001-$10 million                   ☐$500,000,001-$1 billion
                                                ☐$50,001-$100,000                ☐$10,000,001-$50 million                  ☐$1,000,000,001-$10 billion
                                                ☐$100,001-$500,000               ☐$50,000,001-$100 million                 ☐$10,000,000,001-$50 billion
                                                ☐$500,001-$1 million             ☒$100,000,001-$500 million                ☐More than $50 billion

                  Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of         •       The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of                 petition.
    debtor
                                         •       I have been authorized to file this petition on behalf of the debtor.
                                         •       I have examined the information in this petition and have a reasonable belief that the information is true
                                                 and correct.

                                             I declare under penalty of perjury that the foregoing is true and correct.

                                         Executed on           02 / 13 / 2023
                                                                MM/ DD / YYYY


                                                 /s/                                                          Dr. Henry Ji
                                                 Signature of authorized representative of debtor              Printed name

                                                 Title   Chief Executive Officer




18. Signature of attorney                        /s/ Matthew D. Cavenaugh                                    Date         02 / 13 / 2023
                                                 Signature of attorney for debtor                                         MM/DD/YYYY



                                                 Matthew D. Cavenaugh

                                                 JACKSON WALKER, LLP
                                                 Firm name
                                                 1401 McKinney Street, Suite 1900
                                                 Number                 Street
                                                 Houston                                                             Texas              77010
                                                 City                                                                State                ZIP Code
                                                 (713) 752-4200                                                      mcavenaugh@jw.com
                                                 Contact phone                                                          Email address
                                                 24062656                                            Texas
                                                 Bar number                                          State




   Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 4
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Official Form 201A (12/15)


                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE SOUTHERN DISTRICT OF TEXAS

                                                                       )
    In re:                                                             )     Chapter 11
                                                                       )
                                                                       )     Case No. 23-___________(___)
    SORRENTO THERAPEUTICS, INC.                                        )
                                                                       )
                              Debtor.                                  )
                                                                       )

             Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11

            1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of
        1934, the SEC file number is 001-36150.

            2. The following financial data is the latest available information and refers to the debtor’s condition on
        February 10, 2023.
            a. Total assets                                                  In excess of $1 billion (estimate)
              b. Total debts (including debts listed in 2.c., below)                    About $235 million (estimate)
              c. Debt securities held by more than 500 holders
                                                                                                                        Approximate
                                                                                                                        number of
                                                                                                                        holders:

              secured☐ unsecured☐         subordinated ☐           $
              secured☐ unsecured☐         subordinated ☐           $
              secured☐ unsecured☐         subordinated ☐           $
              secured☐ unsecured☐         subordinated ☐           $
              secured☐ unsecured☐         subordinated ☐           $

              d. Number of shares of preferred stock                                                                    0
              e. Number of shares of common stock                                                                       551,153,069

              Comments, if any:



              3. Brief description of debtor’s business:

              Sorrento Therapeutics, Inc. is a clinical and commercial stage biopharmaceutical company developing
              a portfolio of next generation treatments for three major therapeutic areas: cancer, infectious disease
              and pain.




            4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote,
        5% or more of the voting securities of debtor:

                 Funds affiliated with State Street Global Advisors, BlackRock, Inc., and The Vanguard Group

        Official Form 201A           Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                           Case 23-90085 Document 1 Filed in TXSB on 02/13/23 Page 6 of 16


      Fill in this information to identify the case:

      Debtor name               Sorrento Therapeutics, Inc.
      United States Bankruptcy Court for the:   Southern District       District of    Texas
                                                                                      (State)
      Case number (If known):    23-XXXXX
                                                                                                                                  Check if this is an
                                                                                                                                         amended filing




Official Form 204
    Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the
    30 Largest Unsecured Claims and Are Not Insiders                         12/15

    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
    largest unsecured claims.


     Name of creditor and complete mailing             Name, telephone           Nature of the claim   Indicate if   Amount of unsecured claim
     address, including zip code                       number, and email         (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                                       address of creditor       debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                       contact                   professional          unliquidated, total claim amount and deduction for value of
                                                                                 services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                                 government
                                                                                 contracts)
                                                                                                                       Total claim, if     Deduction for   Unsecured
                                                                                                                       partially           value of        claim
                                                                                                                       secured             collateral or
                                                                                                                                           setoff

1    NantCell, Inc.
     9920 Jefferson Blvd                                                                                                                                   $156,829,562.00
     Culver City, CA 90232


2    NANTibody LLC
     9920 Jefferson Blvd                                                                                                                                   $16,681,521.00
     Culver City, CA 90232


3    Paul Hastings LLP
     515 S Flower St
                                                                                                                                                           $11,470,493.00
     Suite 2500
     Los Angeles, CA 90071

4    JB Pacific, Inc.
     11633 Sorrento Valley Rd
                                                                                                                                                            $4,485,396.00
     Suite 103
     San Diego CA 92121

5    Latham & Watkins LLP
     555 Eleventh St NW
                                                                                                                                                            $3,888,196.00
     Suite 1000
     Washington, DC 20004

6    Aditus Partners, LLC
     568 Garden Way                                                                                                                                         $2,800,000.00
     Edgewood KY 41017


7    Mayo Clinic
     200 First St SW
                                                                                                                                                            $2,246,974.00
     MN Biobusiness 4
     Rochester, MN 55905

8    Global Life Sciences Solutions USA LLC
     100 Results Way                                                                                                                                        $1,382,227.00
     Marlborough, MA 01752


    Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                     page 1
                        Case 23-90085 Document 1 Filed in TXSB on 02/13/23 Page 7 of 16


    Debtor Name               Sorrento Therapeutics, Inc.                    Case Number                      23-XXXXX


     Name of creditor and complete mailing        Name, telephone       Nature of the claim   Indicate if   Amount of unsecured claim
     address, including zip code                  number, and email     (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                                  address of creditor   debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                  contact               professional          unliquidated, total claim amount and deduction for value of
                                                                        services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                        government
                                                                        contracts)
                                                                                                              Total claim, if   Deduction for      Unsecured
                                                                                                              partially         value of           claim
                                                                                                              secured           collateral or
                                                                                                                                setoff


9    Ernst & Young U.S. LLP
     200 Plaza Dr                                                                                                                                  $1,080,000.00
     Secaucus NJ 07094

10 Precision Oncology Acqusition Co. Inc.
   (DBA: Precision for Medicine)
                                                                                                                                                   $1,065,422.00
   200 Route 31 North, Suite 102
   Flemington, NH 08822
     Synova Pesquisa Cientifica LTDA.
11
     Av. Brigadeiro Faria Lima, n 1912, 8 Floor
     8B Jardin Paulistano, Sau Paulo                                                                                                                $872,760.00
     San Paulo, 01451-907
     Brazil

12 Cooley LLP
   101 California St
                                                                                                                                                    $783,394.05
   5th Floor
   San Francisco, CA 94111-5800

13 Indena, Banca Popolare DI Milano
   AG 24 Milano ABI 05584 CAB
                                                                                                                                                    $732,870.66
   01624 C/C 6733
   Italy

14 Karolinska Instutet
   Department of Medicine
                                                                                                                                                    $591,701.73
   Huddinge, 171 77 Stockholm
   Sweden

15 Linical Accelovance America, Inc.
   789 SW Federal Hwy
                                                                                                                                                    $548,559.91
   Suite 212
   Stuart FL 34994

16 First Insurance Funding
   450 Skokie Blvd
                                                                                                                                                    $547,895.04
   Suite 1000
   Northbrook, IL 60062

17 Worldwide Clinical Trials Scilex
   3800 Paramount Pkwy
                                                                                                                                                    $537,134.21
   Suite 400
   Morrisville NC 27560

18 Life Technologies Corp.
   12088 Collection Center Dr                                                                                                                       $499,735.62
   Chicago IL 60693


19 Emas Pharma Limited
   Knowl Piece, Wilbury Way
                                                                                                                                                    $492,943.93
   Hitchin, SG4 0TY
   United Kingdom

20 Protiviti Inc.
   2613 Camino Ramon                                                                                                                                $483,801.07
   San Ramon CA 94583




    Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                page 2
                         Case 23-90085 Document 1 Filed in TXSB on 02/13/23 Page 8 of 16


 Debtor Name                   Sorrento Therapeutics, Inc.                 Case Number                      23-XXXXX


     Name of creditor and complete          Name, telephone number,   Nature of the claim   Indicate if   Amount of unsecured claim
     mailing address, including zip code    and email address of      (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                            creditor contact          debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                      professional          unliquidated, total claim amount and deduction for value of
                                                                      services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                      government
                                                                      contracts)
                                                                                                            Total claim, if   Deduction for      Unsecured
                                                                                                            partially         value of           claim
                                                                                                            secured           collateral or
                                                                                                                              setoff


21 AB Sciex LLC
   62510 Collections Center Dr                                                                                                                    $476,594.51
   Cook, IL 60693

22 Charles River Laboratories
   PO Box 27812                                                                                                                                   $475,917.41
   New York, NY 10087

23 Roger Williams Medical Center
   Office of Research Administration                                                                                                              $472,600.35
   Providence, RI 02908


24 Advance Instruments LLC
   PO Box 23302                                                                                                                                   $410,232.00
   New York, NY 10087


25 BSP Pharmaceuticals
   Via Appia km. 65, 651 04013
                                                                                                                                                  $359,440.43
   Latina Scalo (LT)
   Italy

26 Human Gene Exploration
   Technologies LLC (Hugenx)
                                                                                                                                                  $299,275.00
   530 Technology Dr, Suite 100
   Irvine, CA 92618

27 Trilink Bio
   PO Box 889189                                                                                                                                  $292,657.00
   Los Angeles, CA 90088-9189


28
     Morris, Nichols, Arsht & Tunnell LLP
     1201 N Market St, 16th Floor                                                                                                                 $274,726.39
     Wilmington, DE 19801


29 Baker Botts L.L.P.
   PO Box 301251                                                                                                                                  $257,051.67
   Dallas TX 75303-1251


30 Silex Microsystems
   PO Box 595
                                                                                                                                                  $242,443.00
   175 26 Jarfalla
   Sweden




         * The Debtor reserves its right to amend this list as needed.




  Official Form 204          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                              page 3
              Case 23-90085 Document 1 Filed in TXSB on 02/13/23 Page 9 of 16




                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                              )
    In re:                                                    )      Chapter 11
                                                              )
    Sorrento Therapeutics, Inc.                               )      Case No. 23-___________(___)
                                                              )
                             Debtor.                          )
                                                              )

                              LIST OF EQUITY SECURITY HOLDERS1


         Pursuant to rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the above-
captioned debtor and debtor in possession (the “Debtor”) respectfully represents that the following
is the list of holders of the Debtor’s sole class of equity or membership interests:

             ☒ There are no equity security holders or corporations that directly or indirectly own
             10% or more of any class of the Debtor’s equity interest.

             ☐ The following are the Debtor’s equity security holders (list holders of each class,
             showing the number and kind of interests registered in the name of each holder, and the
             last known address or place of business of each holder):




1
 This list serves as the required disclosure by the Debtor pursuant to Rule 1007 of the Federal Rules of Bankruptcy
Procedure. All equity positions listed are as of the date of commencement of the Chapter 11 Case.



       Official Form 201        Voluntary Petition for Non-Individuals Filing for Bankruptcy                page 5
          Case 23-90085 Document 1 Filed in TXSB on 02/13/23 Page 10 of 16




                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

                                                )
 In re:                                         )   Chapter 11
                                                )
 Sorrento Therapeutics, Inc.                    )   Case No. 23-___________(___)
                                                )
                       Debtor.                  )
                                                )

                          CORPORATE OWNERSHIP STATEMENT

        Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, no
corporation directly or indirectly owns 10% or more of any class of the above-captioned debtor’s
equity interest.
                Case 23-90085 Document 1 Filed in TXSB on 02/13/23 Page 11 of 16



    Fill in this information to identify the case and this filing:

   Debtor Name Sorrento Therapeutics, Inc.

   United States Bankruptcy Court for the:                Southern District of Texas
                                                                                                  (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule ____
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration: List of Equity Security Holders and Corporate Ownership Statement
    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                                                                  /s/
                                       02 / 13 / 2023
                                       MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                 Dr. Henry Ji
                                                                                 Printed name
                                                                                 Chief Executive Officer

                                                                                 Position or relationship to debtor




Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
         Case 23-90085 Document 1 Filed in TXSB on 02/13/23 Page 12 of 16




                      ACTION BY UNANIMOUS WRITTEN CONSENT
                          OF THE BOARD OF DIRECTORS OF
                           SORRENTO THERAPEUTICS, INC.
                                a Delaware corporation

        WHEREAS, management of SORRENTO THERAPEUTICS, INC. (the “Corporation”) has
presented to the Corporation’s Board of Directors (the “Board”) for approval of a proposal
whereby the Corporation would (A) file a voluntary petition in the United States Bankruptcy Court
for the Southern District of Texas (the “Court”) pursuant to Chapter 11 of the United States
Bankruptcy Code (the “Chapter 11 Filing,” and such case, the “Chapter 11 Case”), (B) in
connection therewith, have the power and authority to effectuate any postpetition financing
transactions that may arise during the Chapter 11 Case, such as the incurrence of secured or
unsecured debt or equity financing or the consensual or nonconsensual use of cash collateral
(each, a “Financing Transaction”), and (C) evaluate other potential strategic transactions that
may arise within or related to the Chapter 11 Case (the “Potential Transactions”); and

       WHEREAS, in connection therewith, the Corporation has appointed, and seeks to continue
the appointment of, Mr. Mohsin Meghji as Chief Restructuring Offer of the Corporation; and

        WHEREAS, in further connection therewith, the Corporation has retained, and seeks to
continue retaining, certain outside advisors, including M3 Partners (as financial advisor and
investment banker), Jackson Walker LLP (as restructuring counsel), Latham & Watkins LLP (as
special corporate, finance, and litigation counsel), and Stretto (as claims and noticing agent); and

        WHEREAS, the Board has reviewed and considered the circumstances of the Corporation,
including its current and future liabilities and strategic alternatives, and has determined that a
Chapter 11 Filing is in the Corporation’s best interests; and

       WHEREAS, the Board wishes to provide the Corporation with authority to commence a
Chapter 11 Case, effectuate any Financing Transaction, and evaluate any other Potential
Transactions.

CHAPTER 11 FILING

                 NOW, THEREFORE, BE IT RESOLVED, that the Board hereby authorizes
        the Corporation to, working with its outside advisors, effectuate the Chapter 11
        Filing, commence the Chapter 11 Case, and evaluate the Potential Transactions;
        and it is further

                 RESOLVED, that each proper officer of the Corporation be, and hereby
        is, acting singly, authorized to take all such steps and do all such acts and things
        as they shall deem necessary or advisable to commence the Chapter 11 Case,
        including, but not limited to, employing and retaining all assistance by legal
        counsel and accountants, financial advisors, and other professionals; executing,
        verifying, and delivering a voluntary petition in the name of the Corporation
        under Chapter 11 of the United States Bankruptcy Code and causing the same to
        be filed with the Court together with the execution, delivery and filing of any
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        other documents and customary first day pleadings; and the taking of any and all
        other actions necessary or desirable to make, execute, verify, and file all
        applications, certificates, documents, or other instruments and to do any and all
        acts and things that are necessary, advisable, or appropriate in order to carry out
        the intent and purpose of any and all of the foregoing resolution to commence
        Chapter 11 Case for the Corporation; and it is further

CHAPTER 11 PROFESSIONALS

               RESOLVED, that Mr. Mohsin Meghji shall serve as Chief Restructuring
        Officer of the Corporation and shall have the powers and duties as set forth in his
        engagement letter, for the term set forth in such letter or, if earlier, until his earlier
        resignation or removal; and it is further

               RESOLVED, that the Corporation is authorized, directed, and empowered
        to employ and retain M3 Partners as financial advisor and investment banker for
        the Chapter 11 Case, pursuant to the terms of its engagement letter and subject to
        Court approval; and it is further

                RESOLVED, that the Corporation is authorized, directed, and empowered
        to employ and retain Jackson Walker LLP as restructuring counsel (for purposes
        of section 327(a) of the Bankruptcy Code) for the Chapter 11 Case, pursuant to
        the terms of its engagement letter and subject to Court approval; and it is further

                 RESOLVED, that the Corporation is authorized, directed, and empowered
        to employ and retain co-counsel and conflicts counsel (pursuant to section 327(a)
        of the Bankruptcy Code) for the Chapter 11 Case, subject to Court approval; and
        it is further

                 RESOLVED, that the Corporation is authorized, directed, and empowered
        to employ and retain Latham & Watkins LLP as special corporate, financing, and
        litigation counsel (for purposes of section 327(e) of the Bankruptcy Code) for the
        Chapter 11 Case, pursuant to the terms of its engagement letter and subject to
        Court approval; and it is further

                RESOLVED, that the Corporation is authorized, directed, and empowered
        to employ and retain Stretto as claims and noticing agent for the Chapter 11 Case,
        pursuant to the terms of its engagement letter and subject to Court approval; and it
        is further

FINANCING TRANSACTION

               RESOLVED, that, in connection with such Chapter 11 Case the
        Corporation be, and hereby is, authorized to (x) enter into one or more agreements
        to consummate one or more Financing Transactions and (y) take all actions
        contemplated thereby, in each case to the extent a proper officer of the
        Corporation shall deem it necessary or appropriate; and it is further

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                RESOLVED, that, in any connection with the Chapter 11 Case and any
        such Financing Transaction, the Corporation be, and hereby is, authorized to grant
        a security interest in, pledge, or otherwise encumber, as security for the
        obligations under any such Financing Transaction, the assets of the Corporation,
        to the extent a proper officer of the Corporation shall deem it necessary or
        appropriate; and it is further

                RESOLVED, that, in connection with the Chapter 11 Case and any such
        Financing Transaction, each proper officer of the Corporation is hereby
        authorized and empowered to do or cause to be done all such acts or things and to
        execute and deliver, or cause to be executed and delivered, under seal or
        otherwise, acting alone or in combination, all such acts, acknowledgments,
        affidavits, agreements, certificates, documents, filings, instruments, letters,
        notices, recordings, statements, transactions, waivers or undertakings (including,
        without limitation, any and all certificates and notices required to be given or
        made under the terms, conditions or provisions of any of the agreements,
        documents or instruments executed therewith), in the name and on behalf of any
        Corporation and on behalf of each of the Corporation’s direct or indirect
        subsidiaries, required by the Financing Transaction, to the extent a proper officer
        of the Corporation shall deem it necessary or appropriate; and it is further

GENERAL AUTHORIZATION; RATIFICATION OF PAST ACTS

               RESOLVED, that the Corporation’s Secretary be, and hereby is, directed to
        cause a copy of these Resolutions of the Board of Directors to be inserted into the
        minute book of the Corporation; and it is further

                RESOLVED, that the “proper officers” of the Corporation shall mean the
        Corporation’s Chief Executive Officer, the President, the Chief Financial Officer,
        or the Chief Restructuring Officer; and it is further

                RESOLVED, that any proper officer’s execution of any document or
        performance of any act, in each case, authorized by the foregoing resolutions or any
        document executed or act performed, in each case, by any proper officer in the
        accomplishment of any action or actions so authorized, is (or shall become upon
        delivery) the enforceable and binding act and obligation of the Corporation, without
        the necessity of the signature or attestation of any other officer or representative of
        the Corporation; and it is further

               RESOLVED, that the proper officers be, and each of them hereby is,
        authorized, empowered and directed, in the name and on behalf of the
        Corporation, to (1) make or cause to be made such agreements, amendments,
        instruments, filings and applications; (2) execute and deliver or cause to be
        executed or delivered such agreements, amendments, instruments, filings and
        applications; and (3) do or cause to be done such acts and things, in each case as
        each such proper officer deems necessary, appropriate or advisable in order to
        implement the intent and purposes of the foregoing resolutions, and that any and
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        all prior acts, acknowledgments, affidavits, agreements, certificates, documents,
        filings, instruments, letters, notices, recordings, statements, transactions, waivers or
        undertakings done (or not done) on behalf of the Corporation consistent with the
        foregoing resolutions be, and the same hereby are, adopted, authorized, ratified,
        approved and confirmed in all respects as acts of the Corporation; and it is further

                RESOLVED, that, to the extent the Corporation serves as (i) the sole
        member or manager, (ii) the managing member, (iii) the general partner or (iv)
        otherwise as the governing body (the “Controlling Party”), in each case, of any
        subsidiary of the Corporation (the “Controlled Party”), each proper officer of the
        Controlling Party, any one of whom may act without the joinder of any of the
        others, is hereby authorized in the name and on behalf of the Controlling Party
        (acting for such Controlled Party in the capacity set forth above, as applicable) to
        take all of the actions on behalf of such Controlled Party that an Authorized Person
        is herein authorized to take on behalf of such Controlling Party, in each subject to
        Board approval as required under the Governing Documents.




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       IN WITNESS WHEREOF, the undersigned, being all of the members of the Board of
Directors of Sorrento Therapeutics, Inc., a Delaware corporation, hereby consent to and adopt the
foregoing resolutions as of February 12, 2023, and waive the requirement that a meeting be held to
accomplish the same.



                                              __________________________________________
                                              Henry Ji, Ph.D.



                                              __________________________________________
                                              Kim D. Janda, Ph.D.



                                              __________________________________________
                                              Dorman Followwill



                                              __________________________________________
                                              Yue Alexander Wu, Ph. D.



                                              __________________________________________
                                              Jaisim Shah



                                              __________________________________________
                                              David Lemus



                                              __________________________________________
                                              Tammy Reilly




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